FILED

IN THE UNITED STATES DISTRICT COURT HARRISBURG PA
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA JUL 14 20
MARYANN BUTLER and AUDURY PETIE DAVIS, PER /

CRN AER
Plaintiffs,

Vv.

NEW AMERICAN FUNDING (a/k/a Broker Soiutions, inc.),

Defendant.

Civil Action No. 1:25-cv-690-PJC

VERIFIED CURATIVE COMPLAINT FOR REINSTATEMENT OF STRICKEN
FILINGS

Plaintiffs Maryann Butler and Audury Petie Davis, by and through this Verified Curative
Complaint, respectfully submit the following to cure the procedural standing issue referenced in
the Court's July 11, 2025 Order and to reinstate ali previously stricken docket filings for judicial
consideration:

AVERMENTS

. Plaintiff Maryann Butler is a natural person residing at 1823 State Street, Harrisburg,

Pennsylvania, 17103.

. Co-plaintiff Audury Petie Davis is her authorized legal representative and real party in

interest, now joined as a named co-plaintiff to cure the prior procedural deficiency under
Fed. R. Civ. P. 17.

. On July 11, 2025, the Court entered an Order striking Docket Entries 3, 5, 7-10, 12, 15,

418, 20-23, 25~26, 28-29, 32-33, and 35-36, citing lack of standing for Mr. Davis to file
documents on behaif of Ms. Butler. The Court did so without prejudice and allowed a
30-day window to cure the issue.

. Plaintiffs now jointly submit this Verified Curative Complaint, listing both Maryann Butler

and Audury Petie Davis as co-plaintiffs, thereby curing any standing deficiency and
bringing the complaint into full procedural compliance.

5. Plaintiffs further request reinstatement of the complete record previously submitted,
which includes substantial factual documentation, exhibits, affidavits, MP3 voicemail
evidence, and other filings crucial to the adjudication of this matter.

6. Defendant New American Funding has been on notice of all prior filings and has had
ample opportunity to review the facts and respond. The Court directed Defendant to file
@ response to the original Complaint within 30 days.

7. The judicial record previously built by Plaintiffs reflects prima facie evidence of loan
misconduct, regulatory violations, and third-party harm connected to an FHA loan
process involving the subject property.

8. The Court has already reviewed the now-stricken filings and exhibits, and this Curative
Complaint seeks only to re-authorize their inclusion for the purpose of fair and efficient
judicial review.

9. Plaintiffs are not requesting new relief at this time, nor do they seek to revive previously
filed motions untess ordered by the Court or necessitated by future defense actions.

10. These filings include but are not limited to ail previously submitted exhibits, sworn
declarations, MP3 voicemail evidence, judicial notices, and verified pleadings that
collectively establish the prima facie record of misconduct and harm by Defendant.

14. Plaintiffs respectfully request that the Court reinstate the entire factual record previously
struck without prejudice (Docs. 3, 5, 7-10, 12, 15, 18, 20-23, 25-26, 28-29, 32-33,
35-36), solely for purposes of judicial consideration and efficient adjudication.

12. For judicial economy, Plaintiffs expressly waive all previously filed motions and discovery
demands, including but not limited to motions for sanctions, default judgment,

depositions, or emergency hearings. Plaintiffs seek only the restoration of the factual
record and 4 ruling on the corrected Complaint.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that the Court:

4. Accept this Verified Curative Complaint as a procedural cure for standing under Rule 17;
2. Reinstate all filings previously stricken by the Court's July 11, 2025 Order (Docs. 3, 5,
7-10, 12, 15, 18, 20-23, 25-26, 28-29, 32-33, 35-36);

3. Allow the case to proceed based on the corrected parties and full factual record;

4. Grant such other and further relief as the Court deems just and proper.

VERIFICATION

1, Audury Petie Davis, hereby verify under penalty of perjury under the laws of the United States
that the foregoing facts and statements in this Verified Curative Complaint are true and correct
to the best of my knowledge, information, and belief.

Date: July 14, 2025

Respectfully submitted,

/si Audury Petie Davis Ah Le _
Audury Petie Davis

2041 Greenwood Street

Harrisburg, PA 17104

717-424-8220

mfmallah87 @icloud.com

Plaintrf, pro se

CERTIFICATE OF SERVICE

| certify that on July 14, 2025, | served a true and correct copy of the foregoing Verified Curative
Complaint on the following party via email:

James McNally, Esq.
Cohen Seglias Pallas Greenhail & Furman PC

jmcnally@cohenseglias.com
Attorney for Defendant New American Funding

isi Audury Petie Davis
Audury Petie Davis ic

COVER SHEET FOR CURATIVE FILINGS — REQUEST FOR DOCKETING AND JUDICIAL
REVIEW

(WITH NEW EXHIBIT 5: NMLS LICENSING VOID)

FILED
HARRISBURG, PA

From: Audury Petie Davis, Co-Piaintiff and Real Party in Interest ful 14 Vy
a

To: Clerk of Court

Date: July 14, 2025

NEPUTYALERK
Re: Curative Filings to Reinstate Record Pursuant to Judge Carabailo’s July 11, 2025°Order

Dear Clerk,

Please find the following three (3) filings submitted for immediate docketing and judicial review:

4. Verified Curative Complaint (listing both Maryann Butier and Audury Petie Davis as
Co-Plaintiffs to cure standing)

2. Emergency Judicial Notice of Imminent Third-Party Harm and Request for Three-Day
Response Order

3. Declaration of Maryann Butler in Support of Standing and Record Reinstatement

These filings are submitted in direct response to the Court's July 11, 2025 Order, which struck
prior filings solely on standing grounds without prejudice. Plaintiffs respectfully request:

e That the record now be deemed proceduraily cured;

© Thatall previously stricken docket entries (Docs. 3, 5, 7-10, 12, 15, 18, 20-23, 25-26,
28-29, 32-33, 35-36), including Exhibits A through Z and all attached evidence, be fully
reinstated for judicial review and adjudication;

® Thata new Exhibit 5 is hereby added to the record: a screenshot from the NMLS
Consumer Access website showing that Enrico Arvielo is not listed as a licensed
individual, despite his executive control and registration filings for Broker Solutions Inc.
(d/b/a New American Funding).
Exhibit § is submitted in good faith as relevant to Plaintiffs’ claims of regulatory conceaiment,
E&0O liability exposure, and ongoing third-party legal harm. No other exhibits are reattached, as
all previous materials were already submitted and are incorporated by reference.

These materials are respectfully presented to facilitate continued proceedings and prevent
further harm due to unresolved egal! and financial threats tied to the pending record.

Thank you for your assistance.

Sincerely,

/sf Audury Petie Davis

Co-Plaintiff and Authorized Representative
2041 Greenwood Street

Harrisburg, PA 17104

Phone: (717) 424-8220

Email: mimaliah87 @icloud.com
